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                             THE UNITED STATES DISTRICT COURT
                                     DISTRICT OF UTAH


    JACQUES JASON MIRANDA,                                 MEMORANDUM DECISION AND
                                                           ORDER DENYING [38] MOTION FOR
                           Petitioner,                     COMPASSIONATE RELEASE

    v.                                                     Case No. 2:17-cr-00159-DBB

    UNITED STATES OF AMERICA,                              District Judge David Barlow

                           Respondent.



         Petitioner Jacques Jason Miranda brings a motion for compassionate release under 18

U.S.C. § 3582(c)(1)(A).1 Because Petitioner has not established “extraordinary and compelling

reasons” that warrant sentence reduction, Petitioner’s motion is DENIED.

                                             BACKGROUND

         In 2005, Petitioner was sentenced to an 84-month sentence for possession of

methamphetamine with intent to distribute.2 He now brings an action for compassionate release

under 18 U.S.C. § 3582(c)(1)(A).3

                                                STANDARD

         The district court may only grant a motion under 18 U.S.C. § 3582(c)(1)(A) if three

requirements are met. First, the district court must find that extraordinary and compelling reasons




1
  Motion For Compassionate Release, ECF. No. 38.
2
  Judgment as to Jacques Jason Miranda, ECF No. 22 at 1.
3
  ECF No. 38 at 1.
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warrant the sentence reduction.4 Second, the district court must find that such a reduction is

consistent with applicable policy statements issued by the Sentencing Commission.5 And finally,

the district court must consider the factors set forth in 18 U.S.C. § 3553(a), to the extent they are

applicable.6 “[D]istrict courts may deny compassionate-release motions when any of the three

prerequisites . . . is lacking and do not need to address the others.”7

                                                  DISCUSSION
     I. Petitioner has not shown that there are “extraordinary and compelling reasons”
        that warrant release.

         To obtain a sentence reduction under 18 U.S.C. § 3582(c)(1)(A), a petitioner must show

that there are “extraordinary and compelling reasons that warrant such a reduction.”8 “[D]istrict

courts, in applying [this test], have the authority to determine for themselves what constitutes

‘extraordinary and compelling reasons.’”9 That authority is circumscribed by the second part of

the test for sentence reduction—that the reduction is consistent with applicable policy statements

issued by the sentencing commission.

         The statute does not define the phrase “extraordinary and compelling reasons.” The Tenth

Circuit has held that the United States Sentencing Commission (“USSC”) definition of the

phrase is not binding in cases in which a prisoner initiates a motion for compassionate release.10

Still, the court considers that the USSC definition provides helpful guidance in determining




4
  United States v. McGee, 992 F.3d 1035, 1042 (10th Cir. 2021).
5
  Id.
6
  Id.
7
  Id. at 1043 (quoting United States v. Elias, 984 F.3d 516, 519 (6th Cir. 2021)).
8
  18 U.S.C. § 3582(c)(1)(A)(i).
9
  McGee, 992 F.3d at 1045.
10
   United States v. Maumau, 993 F.3d 821, 836 (10th Cir. 2021).

                                                           2
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whether Petitioner’s circumstances warrant relief.11 The USSC policy statement provides that

“extraordinary and compelling reasons” exist for a medical condition when the defendant is

either “suffering from a terminal illness” or the defendant is “suffering from a serious physical or

medical condition,” “suffering from a serious functional or cognitive impairment,” or

“experiencing deteriorating physical or mental health because of the aging process” that

“substantially diminishes the ability of the defendant to provide self-care within the environment

of a correctional facility and from which he or she is not expected to recover.”12

         Petitioner argues that his circumstances constitute extraordinary and compelling reasons

to justify a sentence reduction because he is severely susceptible to contracting and dying from

COVID-19.13 Petitioner outlines his medical problems, including chronic obstructive pulmonary

disease, bronchitis, asthma, epilepsy, and depression.14 While serious, none of these conditions

rise to the level of a “terminal illness” or a “serious physical or medical condition . . . that

substantially diminishes the ability of the defendant to provide self-care.”15 And although

pulmonary diseases increase the risk of death from COVID-19, this risk is not unique to

Petitioner and is shared among many inmates with such chronic health conditions. Furthermore,

Petitioner previously contracted COVID-1916 and has been vaccinated against COVID-19.17


11
   See United States v. Deucher, No. 2:16-cr-00189-DN, 2021 WL 1264566, at *2 (D. Utah 2021); United States v.
Carr, 851 F. App’x 848, 854 (10th Cir. 2021) (unpublished) (“it was within the district court’s discretion to
conclude the application notes to USSG § 1B1.13 still provided the best definition and description of “extraordinary
and compelling reasons” under the circumstances of Ms. Carr's case. . . .”).
12
   U.S.S.G. § 1B1.13 cmt. n. 1(A)(i)–(ii).
13
   ECF No. 38 at 4–5.
14
   Id. at 4; Miranda Affidavit, ECF No. 37 at 1.
15
   U.S.S.G. § 1B1.13 cmt. n. 1(A)(i)–(ii).
16
   ECF No. 39 at 1.
17
   ECF No. 37 at 2. Petitioner also submits an affidavit that characterizes the conditions at the prison and presents a
form that BOP sent to Petitioner stating that because of his medical history he was eligible for counseling about the
COVID-19 vaccine. ECF No. 42 at 1–2; ECF No. 42-1. This affidavit does not present evidence of any
“extraordinary or compelling” reasons to justify a sentence reduction.

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Therefore, even without considering the USSC policy statement, Petitioner’s medical

circumstances do not constitute “extraordinary and compelling reasons” for a sentence reduction

under the USSC policy statement and, independent of that statement, are not otherwise unique

circumstances that would justify a sentence reduction.

                                            ORDER
       Petitioner understandably wishes to be released early. But because Petitioner has not

established “extraordinary and compelling reasons” that warrant sentence reduction, Petitioner’s

motion to for compassionate release must be DENIED.



       Signed October 20, 2021.

                                            BY THE COURT


                                            ________________________________________
                                            David Barlow
                                            United States District Judge




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